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                                           #:8240


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10                      UNITED STATES DISTRICT COURT FOR THE
11         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12

13   ALEX VILLANUEVA,                              Case No.: 2:24−cv−04979−SVW−JC
14                                                 [Assigned to Honorable Stephen V. Wilson
           Plaintiff,                              and Magistrate Judge Jacqueline
15                                                 Chooljian]
16   vs.                                           PLAINTIFF’S REPLY TO
                                                   DEFENDANT’S OPPOSTION TO
17   COUNTY OF LOS ANGELES,                        PLAINTIFF’S IN LIMINE NO. 1 TO
     COUNTY OF LOS ANGELES                         EXCLUDE TESTIMONY AND/OR
18   SHERIFF’S DEPARTMENT, LOS                     EVIDENCE OF PLAINTIFF’S PENSION
     ANGELES COUNTY BOARD OF                       BENEFITS
19   SUPERVISORS, COUNTY EQUITY
     OVERSIGHT PANEL, LOS                          (MIL NO. 1 OF 6)
20   ANGELES COUNTY OFFICE OF
     INSPECTOR GENERAL,
21   CONSTANCE KOMOROSKI,
     MERCEDES CRUZ, ROBERTA
22   YANG, LAURA LECRIVAIN,
     SERGIO V. ESCOBEDO, RON                       Date: May 26, 2025
23   KOPPERUD, ROBERT G. LUNA,                     Time: 1:30 p.m.
     MAX-GUSTAF HUNTSMAN,                          Dept.: 10A
24   ESTHER LIM, and DOES 1 to 100,
     inclusive,
25
           Defendants.                             Trial Date:   June 3, 2025
26                                                 Action Filed: June 13, 2024
27

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                          PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 1
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2      I.   INTRODUCTION
3           Defendants’ opposition mischaracterizes the record, misapplies the law, and ignores
4    controlling authority. The evidence of Plaintiff’s LACERA pension benefits must be
5    excluded because: (1) Plaintiff has not placed the pension at issue and does not rely on it
6    in his damages calculation; (2) under the collateral source rule, LACERA pension benefits
7    are inadmissible regardless of the County’s partial contributions; and (3) even if arguably
8    relevant, the unfair prejudice from introducing this evidence far outweighs any limited
9    probative value, especially where the jury could improperly use this evidence to offset
10   damages. The Court should grant the Motion.
11    II.   DEFENDANTS FAIL TO ESTABLISH RELEVANCE UNDER FRE
12          401 AND 402
13          Defendants argue that pension evidence is relevant to “motivation to work” or
14   “offset” damages. This misstates both the factual record and the legal standard. Plaintiff
15   is not claiming lost pension or retirement contributions, and his damages expert, Sandra
16   White, explicitly did not consider or rely on pension payments in her analysis. (See White
17   Report at WHITE 000004–05.)
18          The assertion that pension income reflects a “lack of motivation to work” is
19   speculative and lacks any evidentiary foundation. Moreover, Defendants cite Broeker v.
20   BNSF Ry. Co., 2021 WL 2944905 (D. Wyo. June 28, 2021), but that case excluded
21   disability benefits as irrelevant and admissible only where the plaintiff had placed those
22   benefits at issue. Here, Plaintiff has not done so. As in Broeker, this Court should find the
23   benefits irrelevant and exclude them.
24          Defendants’ reliance on the Magistrate’s discovery ruling is also misplaced. A
25   discovery ruling is not dispositive of admissibility at trial, particularly where discovery
26   was permitted on the theory of possible relevance. Plaintiff is entitled to seek exclusion
27   under FRE 401 and 403 regardless of prior discovery rulings, and this Court is not bound
28   by the “law of the case” doctrine as applied to interlocutory evidentiary issues. See Peralta

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                        PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 1
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1    v. Dillard, 744 F.3d 1076, 1088 n.15 (9th Cir. 2014) (en banc) (“[T]he law of the case
2    doctrine is inapplicable to rulings on the admissibility of evidence.”).
3    III.   THE COLLATERAL SOURCE RULE BARS EVIDENCE OF
4           PLAINTIFF’S PENSION BENEFITS
5           Defendants concede that Plaintiff’s pension is funded through LACERA—a benefit
6    Plaintiff earned through his years of public service. Whether the County contributes in
7    part to the system is irrelevant under the federal collateral source rule. Courts have
8    consistently held that retirement benefits, even when employer-contributed, remain
9    collateral sources. See McLean v. Runyon, 222 F.3d 1150, 1155–56 (9th Cir. 2000); Eichel
10   v. N.Y. Cent. R.R. Co., 375 U.S. 253, 254–55 (1963); Ditton v. BNSF Ry. Co., 2014 WL
11   12928305, at *10 (C.D. Cal. Jan. 6, 2014).
12          Defendants’ citations to Mort v. DeJoy and Betkey v. County of Los Angeles are
13   distinguishable. Those cases addressed whether the collateral source rule applied to
14   employer-funded disability or unemployment benefits—not LACERA pensions earned
15   through career service. The Ninth Circuit has never held that partial employer
16   contributions to a retirement system render the entire benefit non-collateral.
17          More importantly, in Lee v. Consol. Rail Corp., 1995 WL 734108, at *4, the court
18   reaffirmed that evidence of pension benefits should be categorically excluded under
19   Eichel, without weighing prejudice or relevance under FRE 403. The collateral source rule
20   is not merely a damages offset rule—it is an evidentiary rule barring introduction of such
21   evidence in the first instance.
22   IV.    THE     PREJUDICIAL            IMPACT       OF     PENSION            EVIDENCE
23          OUTWEIGHS ANY MINIMAL PROBATIVE VALUE
24          Even if the Court were to entertain a balancing analysis under FRE 403, the result
25   would be the same: exclusion. Evidence that Plaintiff receives a $200,000 pension invites
26   precisely the kind of improper inference warned against in Eichel—namely, that Plaintiff
27   has already been compensated and does not need additional recovery. This undermines the
28   purpose of compensatory damages and misleads the jury.

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                         PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 1
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1          Defendants’ suggestion that this prejudice can be cured by a limiting instruction is
2    unavailing. Jurors are human, and the Supreme Court has warned that “the likelihood of
3    misuse by the jury clearly outweighs the value of this evidence.” Eichel, 375 U.S. at 255.
4    Defendants’ proposed jury instruction does not eliminate the substantial risk that jurors
5    will improperly reduce a damages award based on knowledge of Plaintiff’s pension
6    income.
7     V.   DEFENDANTS’ ATTEMPT TO LITIGATE DAMAGES DISPUTES
8          THROUGH EVIDENTIARY SHORTCUTS SHOULD BE REJECTED
9          Finally, Defendants attempt to use Plaintiff’s pension as a de facto “offset” or to
10   impugn Plaintiff’s mitigation efforts without expert evidence or factual support. Courts
11   have consistently rejected efforts to introduce collateral source income for such purposes,
12   especially where not directly tied to the plaintiff’s claim. See Finley v. Nat’l R.R.
13   Passenger Corp., 1 F. Supp. 2d 440, 445 (E.D. Pa. 1998) (granting mistrial due to
14   reference to disability pension); Davis v. CVS Pharmacy, Inc., 2023 WL 2558412, at *5
15   (C.D. Cal. Feb. 10, 2023).
16   VI.   CONCLUSION
17         Plaintiff’s LACERA pension benefits are not part of his damages claim, are
18   irrelevant to any claim or defense, and constitute a classic collateral source. Defendants’
19   attempts to circumvent the collateral source rule and inject prejudicial wealth-based
20   arguments must be rejected.
21

22   Dated: May 12, 2025               SHEGERIAN & ASSOCIATES, INC.
23
                                       By:
24                                           Alex DiBona, Esq.
25                                           Attorneys for Plaintiff,
                                             ALEX VILLANUEVA
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                        PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 1
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1    VILLANUEVA v. COUNTY OF LOS ANGELES, et al. USDC Case No. 2:24-cv-04979 SVW (JC)
2                                   PROOF OF SERVICE
3                           UNITED STATES DISTRICT COURT
4            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
5         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 11520 San Vicente
6    Boulevard, Los Angeles, California 90049.
7       On May 12, 2025, I served the foregoing document, described as “PLAINTIFF’S
     REPLY TO DEFENDANT’S OPPOSITION TO HIS MOTION IN LIMINE NO. 6
8    EXCLUDE EXPERT REPORT, OPINION, AND TESTIMONY OF VIDA
     THOMAS,” on all interested parties in this action as follows:
9
     Louis R. Miller (State Bar No. 54141)
10   smiller@millerbarondess.com
     Jason H. Tokoro (State Bar No. 252345)
11   jtokoro@millerbarondess.com
     Steven G. Williamson (State Bar No. 343842)
12   swilliamson@millerbarondess.com
     MILLER BARONDESS, LLP
13   2121 Avenue of the Stars, Suite 2600
     Los Angeles, California 90067
14
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
15         document(s) with the Clerk of the Court by using the CM/ECF system. Participants
           in the case who are registered CM/ECF users will be served by the CM/ECF system.
16         Participants in the case who are not registered CM/ECF users will be served by mail
           or by other means permitted by the court rules.
17
           (FEDERAL) I declare that I am employed in the office of a member of the bar of
18         this Court at whose direction the service was made.
19        Executed on May 12, 2025, at Los Angeles, California.
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21                                               Amelia Sanchez
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